     Case 1:16-cv-12499-NMG Document 24 Filed 07/19/17 Page 1 of 2



                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS

JOSIE HATUEY,                                   )
                                                )
                      Plaintiff,                )
       v.                                       )
                                                ) Case No.: 1:16-cv-12499-NMG
EOS CCA                                         )
                                                )
                      Defendant.                )
                                                )

                              STIPULATION TO DISMISS

TO THE CLERK:

       Pursuant to Rule 41(a)(1)(A)(ii), counsel for all parties hereto stipulate to the

dismissal with prejudice and without each party to bear its own costs and fees.


/s /Andrew M. Schneiderman                      /s/ Craig Thor Kimmel
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 Attorney for the Defendant
                                                Date: July 19, 2017
Date: July 19, 2017



                                      BY THE COURT:



                                      _________________________
                                                              J.
     Case 1:16-cv-12499-NMG Document 24 Filed 07/19/17 Page 2 of 2




                                  Certificate of Service

       I hereby certify that I have served a copy of the foregoing document by Notice of
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